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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                 JACKSONVILLE DIVISION


  FLORIDA COASTAL SCHOOL OF
  LAW, INC.; et al.,

                       Plaintiffs,
  vs.                                                      Case No. 3:18-cv-621-J-32JRK

  AMERICAN BAR ASSOCIATION, et al.,

                       Defendants.


                                            ORDER

         Upon review of the complaint, I hereby recuse myself because of my former affiliation

  with plaintiff Florida Coastal School of Law, Inc., as an adjunct instructor. The Clerk shall

  randomly reassign this case to another District Judge.

         DONE AND ORDERED at Jacksonville, Florida this 10th day of May, 2018.




  s.
  Copies:

  counsel of record
